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As of: March 8, 2019 8:13 PM Z


                                 Barbato v. Greystone Alliance, LLC
                                  United States Court of Appeals for the Third Circuit
                            September 6, 2018, Argued; February 22, 2019, Opinion Filed
                                                      No. 18-1042

Reporter
2019 U.S. App. LEXIS 5336 *; __ F.3d __; 2019 WL 847920

MARY BARBATO v. GREYSTONE ALLIANCE, LLC;
TURNING POINT CAPITAL INC; CROWN ASSET
MANAGEMENT LLC Crown Asset Management LLC,
Appellant
                                                                   Banking Law > ... > Banking & Finance > Consumer
                                                                   Protection > Fair Debt Collection
Prior History: [*1] On Appeal from the United States
District Court for the Middle District of Pennsylvania.
                                                               HN1[   ] Consumer Protection, Fair Debt Collection
(M.D. Pa. Civil Action No. 3-13-cv-02748). Honorable
Malachy E. Mannion, U.S. District Judge.
                                                               The Fair Debt Collection Practices Act protects
                                                               consumers from abusive, deceptive, or otherwise unfair
                                                               debt collection practices. 15 U.S.C.S. § 1692(a). It
Barbato v. Greystone All., LLC, 2017 U.S. Dist. LEXIS
                                                               applies to "debt collectors," defined alternatively as
189994 (M.D. Pa., Nov. 16, 2017)
                                                               those engaged "in any business the principal purpose of
                                                               which is the collection of any debts" and those "who
Case Summary                                                   regularly collect" debts "owed or due another." §
                                                               1692a(6).

Overview

HOLDINGS: [1]-In an action under the Fair Debt                     Banking Law > ... > Banking & Finance > Consumer
Collection Practices Act, an entity that acquired debt for         Protection > Fair Debt Collection
the purpose of collection but outsourced the actual
collection activity qualified as a "debt collector" under 15   HN2[   ] Consumer Protection, Fair Debt Collection
U.S.C.S. § 1692a(6); [2]-An appellant's only business
was purchasing of debts for the purpose of collecting on       An entity that otherwise meets the "principal purpose"
those debts, and, without the collection of those debts,       definition in 15 U.S.C.S. § 1692a cannot avoid the
appellant would have ceased to exist. Therefore, the           dictates of the Fair Debt Collection Practices Act merely
appellant fell squarely within § 1692a(6)'s "principal         by hiring a third party to do its collecting.
purpose" definition; [3]-An entity which itself met the
definition of "debt collector" could be held vicariously
liable for unlawful collection activities carried out by           Civil Procedure > Appeals > Appellate
another on its behalf.                                             Jurisdiction > Certified Questions

Outcome                                                            Civil Procedure > Appeals > Appellate
The court affirmed the district court's order denying              Jurisdiction > Interlocutory Orders
reconsideration of its summary judgment decision and
remanded for further proceedings.                                  Civil Procedure > Appeals > Standards of
                                                                   Review > De Novo Review
LexisNexis® Headnotes
                                                               HN3[   ] Appellate Jurisdiction, Certified Questions
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When reviewing an interlocutory appeal under 28                 "debt" as the FDCPA defines it, and (4) the defendant
U.S.C.S. § 1292(b), the United States Court of Appeals          has violated a provision of the FDCPA in attempting to
for the Third Circuit exercises plenary review over the         collect the debt.
question certified. The scope of review, however, is not
limited to the question set forth in the certification motion
but, rather, includes any issue fairly included within the
                                                                    Banking Law > ... > Banking & Finance > Consumer
certified order.
                                                                    Protection > Fair Debt Collection

                                                                    Governments > Legislation > Interpretation
    Civil Procedure > Judgments > Relief From
    Judgments > Altering & Amending Judgments                   HN6[   ] Consumer Protection, Fair Debt Collection

    Civil Procedure > ... > Summary                             To determine whether a party is a "debt collector" under
    Judgment > Entitlement as Matter of                         the "principal purpose" definition of 15 U.S.C.S. §
    Law > Appropriateness                                       1692a, the United States Court of Appeals for the Third
                                                                Circuit looks first to the plain meaning of the statutory
    Civil Procedure > Appeals > Standards of Review             text. The text states that any person who uses any
                                                                instrumentality of interstate commerce or the mails in
HN4[ ] Relief From            Judgments,       Altering    &    any business the principal purpose of which is the
Amending Judgments                                              collection of any debts is a debt collector. 15 U.S.C.S. §
                                                                1692a(6).
The United States Court of Appeals for the Third Circuit
reviews a denial of a motion for reconsideration for
abuse of discretion, but reviews the district court's
                                                                    Banking Law > ... > Banking & Finance > Consumer
underlying legal determinations de novo and factual
                                                                    Protection > Fair Debt Collection
determinations for clear error. Summary judgment is
appropriate only where there is no genuine issue as to
                                                                HN7[   ] Consumer Protection, Fair Debt Collection
any material fact. Fed. R. Civ. P. 56(c).
                                                                In the context of 15 U.S.C.S. § 1692a, an entity qualifies
                                                                under the definition of debt collector if the principal
    Banking Law > ... > Banking & Finance > Consumer            purpose of its business is the collection of any debts.
    Protection > Fair Debt Collection                           "Principal" is defined as "most important, consequential,
                                                                or influential," and "purpose" is defined as "something
    Governments > Legislation > Types of Statutes               that one sets before himself as an object to be attained :
                                                                an end or aim" and "an object, effect, or result aimed at,
    Evidence > Burdens of Proof > Allocation                    intended, or attained." Thus, an entity that has the
                                                                "collection of any debts" as its most important aim is a
HN5[    ] Consumer Protection, Fair Debt Collection             debt collector under this definition. While it is true that
                                                                "collection" can be defined as "the act or process of
Congress enacted the Fair Debt Collection Practices Act         collecting," it can also be defined as "that which is
(FDCPA) in 1977 to eliminate abusive debt collection            collected." So defined, the focus shifts from the act of
practices by debt collectors and to insure that those           collecting to what is collected, namely, the acquired
debt collectors who refrain from using abusive debt             debts. As long as a business's raison d'être is obtaining
collection practices are not competitively disadvantaged.       payment on the debts that it acquires, it is a debt
15 U.S.C.S. § 1692(e). It provides a private right of           collector. Who actually obtains the payment or how they
action against debt collectors who violate its provisions.      do so is of no moment.
15 U.S.C.S. § 1692k. As remedial legislation, the
FDCPA must be broadly construed in order to give full
effect to these purposes. To prevail on an FDCPA claim,
a plaintiff must prove that (1) she is a consumer, (2) the          Banking Law > ... > Banking & Finance > Consumer
defendant is a debt collector, (3) the defendant's                  Protection > Fair Debt Collection
challenged practice involves an attempt to collect a
                                                                    Governments > Legislation > Interpretation
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HN8[   ] Consumer Protection, Fair Debt Collection            This is a fair result because an entity that is itself a debt
                                                              collector—and hence subject to the Fair Debt Collection
Pursuant to the Fair Debt Collection Practices Act, in        Practices Act—should bear the burden of monitoring the
contrast to the "regularly collects" definition, where        activities of those it enlists to collect debts on its behalf.
Congress explicitly used the verb "to collect" in
describing the actions of those it intended the definition    Counsel: For Crown Asset Management LLC,
to cover, in the "principal purpose" definition, Congress     Defendant-Appellant: Anthony J. Gingo, Michael J.
used the noun "collection" and did not specify who must       Palumbo, Gingo Palumbo Law Group, Independence,
do the collecting or to whom the debt must be owed. 15        OH; Matthew R. Rosenkoff [ARGUED], Taylor English
U.S.C.S. § 1692a(6). Thus, by its terms, the "principal       Duma, Atlanta, GA.
purpose" definition sweeps more broadly than the
                                                              For Mary Barbato, Plaintiff-Appellee: Daniel A. Edelman
"regularly collects" definition, and the court must
                                                              [ARGUED], Edelman Combs Latturner & Goodwin,
presume that the legislature says what it means and
                                                              Chicago, IL; Brett M. Freeman, Carlo Sabatini, Sabatini
means what it says.
                                                              Law Firm, Dunmore, PA.

                                                              Judges: Before: HARDIMAN, KRAUSE, and BIBAS,
    Governments > Legislation > Interpretation                Circuit Judges.

HN9[   ] Legislation, Interpretation                          Opinion by: KRAUSE

Recourse to legislative history or underlying legislative     Opinion
intent is unnecessary when a statute's text is clear and
does not lead to an absurd result.
                                                              OPINION OF THE COURT

                                                              KRAUSE, Circuit Judge.
    Banking Law > Consumer Protection > Fair Debt
    Collection > Liability for Violations                     HN1[ ] The Fair Debt Collection Practices Act
                                                              ("FDCPA") protects consumers from abusive, deceptive,
    Torts > Vicarious Liability > Agency Relationships        or otherwise unfair debt collection practices. 15 U.S.C. §
                                                              1692(a). It applies to "debt collectors," defined
HN10[ ]    Fair     Debt    Collection,    Liability   for    alternatively as those engaged "in any business the
Violations                                                    principal purpose of which is the collection of any debts"
                                                              and those "who regularly collect[]" debts "owed or due
When Congress creates a tort action, it legislates            another." Id. § 1692a(6). This appeal concerns only the
against a legal background of ordinary tort-related           first definition and requires us to determine whether an
vicarious liability rules, and the United States Court of     entity that acquires debt for the "purpose of . . .
Appeals for the Third Circuit has relied on traditional       collection" but outsources the actual [*2] collection
agency principles in holding parties vicariously liable       activity qualifies as a "debt collector." The District Court
under the Fair Debt Collection Practices Act.                 held that it does, and we agree:HN2[ ] an entity that
                                                              otherwise meets the "principal purpose" definition
                                                              cannot avoid the dictates of the FDCPA merely by hiring
                                                              a third party to do its collecting. We therefore will affirm.
    Banking Law > Consumer Protection > Fair Debt
    Collection > Liability for Violations
                                                              I. Background
    Torts > Vicarious Liability > Agency Relationships

HN11[ ]    Fair     Debt    Collection,    Liability   for
Violations                                                    A. Factual Background

                                                              Appellant Crown Asset Management ("Crown") is a
An entity which itself meets the definition of "debt
                                                              purchaser of charged-off receivables, that is, accounts
collector" may be held vicariously liable for unlawful
                                                              on which a consumer has stopped paying the debt
collection activities carried out by another on its behalf.
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owed. When Crown purchases an account, it                       amended complaint in which she added Turning Point
determines if the debtor has filed for bankruptcy or is         and Crown as defendants and alleged that each was a
deceased. If neither is the case, Crown does not collect        "debt collector" as defined by the FDCPA.1 Turning
on the account itself; rather, it refers the charged-off        Point was served but never answered. Barbato
receivable to a third-party servicer for collection or it       eventually dismissed both Turning Point and Greystone
hires a debt collection law firm to file a collection lawsuit   from the action, leaving only Crown as a defendant.
on its behalf. Although Crown does not contact
consumers directly, it principally derives revenue from         Barbato and Crown subsequently filed cross-motions for
liquidating the consumer debt it has acquired.                  summary judgment on, among other issues, the
                                                                question whether Crown was a debt collector. Barbato
In this case, Appellee Mary Barbato obtained a                  did not argue that Crown satisfied the "regularly
consumer credit card from GE Electric Capital                   collects" definition, i.e., that it "regularly collect[ed]"
Corporation and GE Money Bank (collectively "GE") in            debts "owed or due another." 15 U.S.C. § 1692a(6).
2007. She made her last payment on the account in               Rather, she argued that Crown was a "debt collector"
November 2010, leaving an outstanding balance.                  because: (1) it purchased debts when [*5] they were in
GE [*3] subsequently charged off that balance and,              default, which, under then-controlling precedent, was a
after a number of sales and assignments, Crown                  prerequisite to being considered a "debt collector" as
purchased Barbato's debt. Pursuant to its standing              opposed to a "creditor"2—statuses we had deemed
service agreement with collection agency Turning Point          mutually exclusive under § 1692a(6), see F.T.C. v.
Capital, Inc. ("Turning Point"), Crown then referred that       Check Inv'rs, Inc., 502 F.3d 159, 171 (3d Cir. 2007)—
debt to Turning Point for collection.                           and (2) it satisfied the statute's "principal purpose"
                                                                definition because the principal purpose of its business
Crown's service agreement with Turning Point explained          was the collection of those defaulted debts, even if it
that Crown was seeking "to procure certain collection           hired third-party debt collectors to do the collecting. 15
services" from Turning Point, and Turning Point was             U.S.C. § 1692a(6); App. 209-10 (citing Pollice v. Nat'l
agreeing to "undertake collection on each Account               Tax Funding, L.P., 225 F.3d 379, 403-04 (3d Cir.
placed" with it by Crown. App. 376. In addition, the            2000)). Crown countered that, regardless of the default
agreement said that Crown had the "sole and absolute            status of the debt, Barbato could not prove it fit the
discretion," App. 378, as to which accounts it would            "principal purpose" definition because it took no
forward, that Crown's obligation to pay Turning Point           collection action towards her and its principal purpose
was contingent upon Turning Point's success, and that           was not the collection of debt but, rather, its acquisition.
Crown could establish settlement guidelines from which
Turning Point would have to obtain permission in order          Siding with Barbato on these issues, the District Court
to deviate.                                                     held that Crown was "acting as [a] 'debt collector'"
                                                                because: (1) it acquired debts like Barbato's when they
Pursuant to this agreement, Turning Point sent Barbato          were in default and (2) the summary judgment record
a collection letter in February 2013, identifying itself as a   supported that Crown's "principal purpose" was the
"National Debt Collection Agency" and Crown as its              "collection of 'any debts.'" Barbato v. Greystone All.,
client. Turning Point also called Barbato and left her two      LLC, No. 3:13-CV-2748, 2017 U.S. Dist. LEXIS 48175,
voicemail messages. For its part, Crown did not have
any direct communication with [*4] Barbato regarding
her account, nor did it review or approve the letter sent
                                                                1 Although  of limited relevance for this appeal, the specific
to her by Turning Point. When Barbato filed for
                                                                conduct that Barbato alleged violated the FDCPA was (1) that
bankruptcy, however, Crown recalled Barbato's account
                                                                Turning Point left her voicemail messages without disclosing
from Turning Point and subsequently closed it.
                                                                that the calls were from a debt collector, as required under 15
                                                                U.S.C. § 1692e(11), and (2) that Turning Point's letter
                                                                neglected to inform her how to properly exercise her validation
B. Procedural Background                                        rights, as required under 15 U.S.C. § 1692g. Barbato
                                                                purported to bring this latter claim on behalf of a putative class
Several months later, after Turning Point was absorbed          of Pennsylvania residents.
by Greystone Alliance, LLC ("Greystone"), Barbato filed
a state court complaint against Greystone, alleging that        2 Thestatute defines "creditor" as "any person who offers or
it had violated the FDCPA. And after Greystone                  extends credit creating a debt or to whom a debt is owed." 15
removed the action to federal court, Barbato filed an           U.S.C. § 1692a(4).
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2017 WL 1193731, at *10 (M.D. Pa. Mar. 30, 2017). As          when it was a third-party buyer of the debt, and the [*8]
to the second ground, the Court found little difference       debt was in default at the time it purchased it." App. 34.
between collecting on charged-off receivables and             Crown then filed a petition for permission to file the
referring charged-off receivables [*6] to third-party         interlocutory appeal and to appeal the District Court's
independent servicers for collection. Instead, given that     denial of its motion for reconsideration, which we
Crown purchased debt, that ninety to ninety-five percent      granted.
of that debt came from consumers, and that Crown
referred all of that debt out for collection, the District
Court concluded that "Crown's principal purpose is to         II. Jurisdiction and Applicable Standards
acquire accounts in 'default' for the purpose of
collection." Id. The District Court nevertheless denied       The District Court had jurisdiction under 28 U.S.C. §
Barbato's motion for summary judgment, holding that           1331, and we have jurisdiction over this interlocutory
she had not established that Crown was vicariously            appeal under 28 U.S.C. § 1292(b). HN3[ ] When
liable for Turning Point's conduct because (1) in the         reviewing an interlocutory appeal under 28 U.S.C. §
District Court's view, vicarious liability could be imputed   1292(b), we exercise plenary review over the question
to Crown in these circumstances only if the agent too         certified. Florence v. Bd. of Chosen Freeholders of Cty.
was a "debt collector," and (2) the evidence in the           of Burlington, 621 F.3d 296, 301 (3d Cir. 2010). The
record was insufficient to hold that Turning Point was a      scope of our review, however, is not limited to the
debt collector under the FDCPA. The Court granted the         question set forth in the certification motion but, rather,
parties leave to file renewed motions for summary             includes any issue fairly included within the certified
judgment to address Turning Point's status as a debt          order. See Yamaha Motor Corp., U.S.A. v. Calhoun, 516
collector.                                                    U.S. 199, 205, 116 S. Ct. 619, 133 L. Ed. 2d 578 (1996)
                                                              ("As the text of § 1292(b) indicates, appellate jurisdiction
While these proceedings continued in the District Court,      applies to the order certified to the court of appeals, and
however, the Supreme Court issued a decision that             is not tied to the particular question formulated by the
prompted Crown to seek reconsideration of the District        district court.").
Court's ruling that it was a "debt collector." In Henson v.
Santander, Consumer USA Inc., in interpreting [*7] the        HN4[ ] "We review a denial of a motion for
"regularly collects" definition and deciding whether the      reconsideration for abuse of discretion, but we review
entity there "regularly collect[ed] . . . debts owed or due   the District Court's underlying legal determinations"—its
another," 15 U.S.C. § 1692a(6), the Supreme Court held        denial of summary judgment to Crown in this case—"de
that it was irrelevant whether the debt acquired and          novo and factual determinations for clear error." Howard
sought to be collected was in default; instead, it held       Hess Dental Labs. Inc. v. Dentsply Int'l, Inc., 602 F.3d
"[a]ll that matters is whether the target of the lawsuit      237, 246 (3d Cir. 2010). Summary judgment is
regularly seeks to collect debts for its own account or       appropriate only where there is no genuine issue as to
does so for 'another,'" 137 S. Ct. 1718, 1721, 1724, 198      any material fact. [*9] Fed. R. Civ. P. 56(c).
L. Ed. 2d 177 (2017). Construing that language to apply
to § 1692a(6) generally, Crown urged that it could no
longer be considered a debt collector, even under the         III. Discussion
"principal purpose" definition, because it too was
                                                              On appeal, Crown contends that it does not qualify as a
collecting debts on its own behalf and not for another.
                                                              "debt collector" under the "principal purpose" definition
The District Court disagreed, holding that Henson
                                                              for three reasons: First, the Supreme Court's decision in
pertained only to the "regularly collects" definition of
                                                              Henson undermined our prior precedent that would
"debt collector" and did not affect its holding that Crown
                                                              render it a debt collector. Second, its principal purpose
was a debt collector under the "principal purpose"
                                                              is the acquisition—not the collection—of debt, and a
definition. See Barbato v. Greystone All., LLC, No. CV
                                                              faithful interpretation of the statute requires that we
3:13-2748, 2017 U.S. Dist. LEXIS 189994 , 2017 WL
                                                              distinguish between the two. And third, the legislative
5496047, at *1, *9-*10 (M.D. Pa. Nov. 16, 2017).
                                                              history demonstrates that Congress intended to regulate
Nevertheless, the District Court certified its decision for   the proverbial "repo man," not a "passive debt owner"
interlocutory appeal and presented a controlling              like Crown. Appellant Br. 32. We begin with a brief
question of law to this Court: "whether Henson requires       overview of the FDCPA and, with that context for
a finding that Crown is not a debt collector in this case     Crown's arguments, address—and reject—each in turn.
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                                                                     As we recently had occasion to remark, the debt
A. The FDCPA                                                         collection industry has changed since Congress enacted
                                                                     the FDCPA in 1977, and the simple creditor-debt
HN5[ ] Congress enacted the FDCPA in 1977 "to                        collector duo has been complicated by the advent and
eliminate abusive debt collection practices by debt                  growth of debt buying. See Tepper v. Amos Fin., LLC,
collectors" and "to insure that those debt collectors who            898 F.3d 364, 366 (3d Cir. 2018). With the [*11]
refrain from using abusive debt collection practices are             proliferation of debt buying have come questions about
not competitively disadvantaged." 15 U.S.C. § 1692(e).               the boundaries of the statute's definitions.
It provides a private right of action against debt
collectors who violate its provisions. 15 U.S.C. § 1692k;            In Henson v. Santander, the Supreme Court clarified the
see also Brown v. Card Serv. Ctr., 464 F.3d 450, 453                 "regularly collects" definition. There, Santander Bank
(3d Cir. 2006). "As remedial legislation, the FDCPA                  purchased loans once they were already in default and
must be broadly construed in order to give full effect to            sought to collect on them. 137 S. Ct. at 1720. Focusing
these purposes." Caprio v. Healthcare Revenue                        on the plain language of the statutory definition at issue,
Recovery Grp., LLC, 709 F.3d 142, 148 (3d Cir. 2013).                the Court held that a third-party buyer of debt that seeks
                                                                     to collect debt owed to it does not fit the second
"To prevail [*10] on an FDCPA claim, a plaintiff must                definition because it does not "regularly seek to collect
prove that (1) she is a consumer, (2) the defendant is a             debts 'owed . . . another.'" Id. at 1721. It rejected the
debt collector, (3) the defendant's challenged practice              petitioners' arguments that either the origin of the debt
involves an attempt to collect a 'debt' as the [FDCPA]               or the default status of the debt had any bearing on that
defines it, and (4) the defendant has violated a provision           analysis. As to the debt's origin, it reasoned that the
of the FDCPA in attempting to collect the debt." St.                 statutory language did not suggest that "whether the
Pierre v. Retrieval-Masters Creditors Bureau, Inc., 898              owner originated the debt or came by it only through a
F.3d 351, 358 (3d Cir. 2018) (quoting Douglass v.                    later purchase" was relevant. Id. The Court similarly saw
Convergent Outsourcing, 765 F.3d 299, 303 (3d Cir.                   no basis in the text for concluding that an entity that
2014)). The only element at issue in this case is the                obtains debts after default automatically qualifies as a
second—whether Crown qualifies as a "debt collector."                "debt collector" under the definition. See id. at 1724. "All
                                                                     that matters," the Court concluded, "is whether the
As noted, the statute defines "debt collector" as any                target of the lawsuit regularly seeks to collect debts for
person (1) "who uses any instrumentality of interstate               its own account [*12] or does so for 'another.'" Id. at
commerce or the mails in any business the principal                  1721. Relevant for our purposes, the Court explicitly
purpose of which is the collection of any debts" (the                declined to address whether such debt buyers could
"principal purpose" definition), or (2) "who regularly               nevertheless qualify as debt collectors under the
collects or attempts to collect, directly or indirectly, debts       "principal purpose" definition. Id.
owed or due or asserted to be owed or due another"
(the "regularly collects" definition).3 15 U.S.C. §
1692a(6). The statute thus provides two separate paths               B. Henson and Third Circuit Precedent
to establishing an entity's status as a "debt collector."
See Henson, 137 S. Ct. at 1721.                                      Crown's primary argument on appeal is that Henson
                                                                     abrogated our prior precedent such that it no longer
                                                                     qualifies as a "debt collector" under the statute. Crown
3 The
                                                                     contends this is so for two reasons: first, because
        statute also provides two other definitions of "debt
                                                                     Henson renders it a creditor, not a debt collector, and
collector," neither of which is relevant here: "any creditor who,
in the process of collecting his own debts, uses any name            the two statuses are mutually exclusive; and second,
other than his own which would indicate that a third person is       because Henson rejected the so-called "default" test on
collecting or attempting to collect such debts" and "any person      which we relied, thereby undermining "the very
who uses any instrumentality of interstate commerce or the           foundation" of our prior caselaw. Appellant Br. 30.
mails in any business the principal purpose of which is the          Crown overstates the effect of Henson.
enforcement of security interests." 15 U.S.C. § 1692a(6).
Excluded from the definition's reach are, among others, a            We need not dwell on Crown's first argument because
creditor's officers and employees who collect debts for the          our recent decision in Tepper v. Amos forecloses it. In
creditor, an entity collecting a debt it originated, and an entity   Tepper, the defendant was a company whose "sole
collecting a debt it obtained that was not in default at the time    business [wa]s purchasing debts entered into by third
of purchase. Id. §§ 1692a(6)(A), (F).
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parties and attempting to collect them." 898 F.3d at 369.       386. We concluded that NTF was a debt collector both
The defendant claimed that because it met the statutory         because it purchased debt in default—a fact Henson
definition of creditor—it was trying to collect debts it        has [*15] since rendered irrelevant—and also because
owned and was thus an entity "to whom [the] debt is             "there [was] no question that the 'principal purpose' of
owed"—it could not [*13] also be a debt collector. Id. at       NTF's business is the 'collection of any debts,' namely,
371 (quoting 15 U.S.C. § 1692a(4)). Like Crown, the             defaulted obligations which it purchases from
defendant based this argument on Third Circuit                  municipalities." Id. at 404. The fact that someone else
precedent that characterized the two statuses as                did the actual collecting did not deter us from concluding
"mutually exclusive." Id. (citing Check Inv'rs, 502 F.3d at     that NTF was a "debt collector" given that "NTF exist[ed]
173); see also Pollice, 225 F.3d at 403. Until Henson, as       solely for the purpose of holding claims for delinquent
we explained, we relied on the "default" test to                taxes and municipal obligations." Id. at 404 n.27
determine whether an entity was a creditor or a debt            (emphasis added). True, Pollice predated Henson, but
collector: either the entity obtained the debt before           for the reasons we explain below, we continue to find its
default and was a creditor or it acquired the debt              logic persuasive.
afterwards and was a debt collector. Tepper, 898 F.3d
at 366-67. Given the binary nature of default status, an
entity could be only one or the other. But, we observed,        C. Statutory Interpretation
Henson rejected the "default" test, id. at 367, and with it,
the basis for treating the terms "debt collector" and           HN6[ ] To determine whether Crown is a "debt
"creditor" as mutually exclusive. Following the Supreme         collector" under the "principal purpose" definition, we
Court's direction to hew more closely to the statutory          look first to the plain meaning of the statutory text. See
definitions, we concluded that "an entity that satisfies        S.H. ex rel. Durrell v. Lower Merion Sch. Dist., 729 F.3d
both [definitions] is within the Act's reach." Id. at 371.      248, 257 (3d Cir. 2013). The text states that "any person
The same is true here.                                          who uses any instrumentality of interstate commerce or
                                                                the mails in any business the principal purpose of which
As to Crown's second argument about Henson's overall            is the collection of any debts" is a "debt collector." 15
effect on our caselaw, it simply proves too much. While         U.S.C. § 1692a(6). Focusing on the word "collection,"
it is no doubt true that Henson abrogated the default test      which it defines as "the act or process of collecting,"
on which we relied to distinguish between creditors and         Crown argues that the "principal purpose" definition
debt collectors and that it clarified the scope of the          applies only to those that engage in "overt acts of
"regularly collects" [*14] definition of debt collector,        collection" by interacting with consumers—not [*16]
Henson did not address the other prong of § 1692a(6)—           entities like Crown that purchase debt and outsource the
the wholly separate "principal purpose" definition. To the      collection. Appellant Br. 25, 31, 33.
contrary, the Court conducted a close textual analysis of
the "regularly collects" definition, deriving from that         As much as Crown might wish that it were otherwise,
portion of the statute—which requires the entity to             nothing suggests that the definition is so limited. HN7[
"collect" debt "owed or due another"—that "[a]ll that           ] An entity qualifies under the definition if the "principal
matters is whether the target of the lawsuit regularly          purpose" of its "business" is the "collection of any
seeks to collect debts for its own account or does so for       debts." "Principal" is defined as "most important,
'another.'" 137 S. Ct. at 1721. That requirement,               consequential, or influential," Principal, Webster's Third
however, does not appear in the "principal purpose"             New International Dictionary 1802 (1976) ("Webster's
definition, and the Supreme Court went out of its way in        Third"), and "purpose" is defined as "something that one
Henson to say that it was not opining on whether debt           sets before himself as an object to be attained : an end
buyers could also qualify as debt collectors under that         or aim" and "an object, effect, or result aimed at,
prong of § 1692a(6). See id.                                    intended, or attained," id. at 1847. Thus, an entity that
                                                                has the "collection of any debts" as its "most important"
But we have previously opined on this question—and in           "aim" is a debt collector under this definition. While it is
similar circumstances. In Pollice v. National Tax               true that "collection" can be defined as "the act or
Funding, L.P., a debt buyer, National Tax Funding L.P.          process of collecting," it can also be defined as "that
("NTF"), purchased delinquent municipal tax and utility         which is collected." Collection, Random House
claims from the government. 225 F.3d at 385. Like               Dictionary of the English Language 290 (1973). So
Crown, NTF had no direct contact with debtors; rather, it       defined, the focus shifts from the act of collecting to
outsourced all of its collection activities to others. Id. at   what is collected, namely, the acquired debts. As long
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as a business's raison d'être is obtaining payment on             The "principal purpose" definition, however, needs no
the debts that it acquires, [*17] it is a debt collector.         such qualification. "Collection" by its very definition may
Who actually obtains the payment or how they do so is             be indirect, and that is the type of collection in which
of no moment.                                                     Crown engages: it buys consumer debt and hires debt
                                                                  collectors to collect on it.5 The existence of a middleman
The statutory context of the "principal purpose"                  does not change the essential nature—the "principal
definition casts further doubt on Crown's argument that           purpose"—of Crown's business. As Barbato points out,
Congress meant to limit it to only those entities that            Crown could buy debt for the charitable purpose of
actively collect from consumers. See Allen ex rel. Martin         forgiving [*19] it, or it could buy debt for the purpose of
v. LaSalle Bank, N.A., 629 F.3d 364, 367 (3d Cir. 2011)           reselling it to unrelated parties at a profit. In both of
("If the plain language fails to express Congress' intent         those cases, the entity's "principal purpose" would not
unequivocally . . . we will examine the surrounding               be collection. But Crown does neither of those things.
words and provisions in their context.") (citing Tavarez          Indeed, the record reflects that Crown's only business is
v. Klingensmith, 372 F.3d 188, 190 (3d Cir. 2004)).               the purchasing of debts for the purpose of collecting on
HN8[ ] In contrast to the "regularly collects" definition,        those debts, and, as Crown candidly acknowledged at
where Congress explicitly used the verb "to collect" in           oral argument, without the collection of those debts,
describing the actions of those it intended the definition        Crown would cease to exist. In short, Crown falls
to cover, in the "principal purpose" definition, Congress         squarely within § 1692a(6)'s "principal purpose"
used the noun "collection" and did not specify who must           definition.
do the collecting or to whom the debt must be owed.4 15
U.S.C. § 1692a(6); see also Tepper, 898 F.3d at 370.
Thus, by its terms, the "principal purpose" definition            D. Crown's Purpose and Legislative History
sweeps more broadly than the "regularly collects"                 Argument
definition, and we must presume that the "legislature
says . . . what it means and means . . . what it says."           Finally, Crown argues that the legislative history of the
Henson, 137 S. Ct. at 1725 (quoting Dodd v. United                FDCPA demonstrates that Congress did not intend for
States, 545 U.S. 353, 357, 125 S. Ct. 2478, 162 L. Ed.            the statutory definition of "debt collector" to apply to a
2d 343 (2005)).                                                   "passive debt owner" like itself but only to a repo man
                                                                  who was personally hounding debtors to hand over the
In a plain language argument of its own, Crown retorts            money they owe. Appellant Br. 32. This argument is
that to find that it qualifies under the "principal purpose"      flawed in two respects.
definition even though it outsources its collection
activities [*18] would be to read the word "indirectly"           First, it proves too much. There is no doubt that
into the statute where it does not appear. This is                "[d]isruptive dinnertime calls, downright deceit, and
especially problematic, Crown contends, because the               more besides drew Congress's eye to the debt
"regularly collects" definition does specify that an entity       collection industry." Henson, 137 S. Ct. at 1720. But
can collect "directly or indirectly," while Congress              even if the purpose of the statute was to reach repo
omitted this qualifier from the "principal purpose"               men, that purpose is furthered [*20] by recognizing
definition.                                                       Crown as a debt collector under § 1692a(6). Unlike a

We are unpersuaded. Again, the fact that the "regularly
collects" definition employs a verb and the "principal            5 Although  not addressed by the District Court or the focus of
purpose" definition employs a noun is critical. In the
                                                                  the parties' arguments on appeal, Barbato has suggested that
"regularly collects" definition, the "directly or indirectly"     Crown itself collects debt because it is the named plaintiff in
qualification is necessary because one could reasonably           many collection lawsuits. Because Crown's litigation efforts did
interpret "collect" to refer to only direct efforts to            not give rise to this appeal and we conclude that Crown
collect—it is, after all, "a verb that requires action."          otherwise satisfies the "principal purpose" definition, we need
Appellant Reply Br. 15 (citation omitted).                        not address this argument. We note, however, that Crown's
                                                                  answer to it—that its litigation efforts are irrelevant because its
                                                                  counsel, not Crown itself, does the collecting by, for example,
4 Atboth oral argument and in its supplemental briefing, Crown    drafting the pleadings—is in tension with our precedent, e.g.,
argued that the word "collection" is a verb. It is not. It is a   Pollice, 225 F.3d at 404-05 (recognizing that a debt collector
noun. See Collection, Webster's Third at 444 (denoting with       may be held vicariously liable for the conduct of its attorneys),
the abbreviation "n" that the word being defined is a noun).      and squarely refuted by our holding today.
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traditional creditor, such as a bank or a retail outlet that   argues that the District Court was obligated to find that
has its own incentive to cultivate good will among its         Crown exerted actual control over Turning Point in order
customers and for which debt collection is one of              to be held vicariously liable, Crown misunderstands the
perhaps many parts of its business, an independent             tenets of agency law and our precedent. See Meyer,
debt collector like Crown has only one need for                537 U.S. at 285-86 (explaining that the principal-agent
consumers: for them to pay their debts. As market-             relationship requires [*22] that the principal either
based incentives go, that makes it far more like a repo        control "or [have] the right to direct or control" the agent)
man than a creditor and gives it every incentive to hire       (emphasis added); see also Janetos v. Fulton Friedman
the most effective repo man to boot.                           & Gullace, LLP, 825 F.3d 317, 326 (7th Cir. 2016)
                                                               (interpreting Pollice to mean that vicarious liability need
Second, while the Supreme Court acknowledged in                not be based "on a showing of actual control over the
Henson that "[e]veryone agrees that the term embraces          specific activity alleged to violate the [FDCPA]").
the repo man," id., the language on which Congress
settled sweeps more broadly to include "any business           Second, in inviting further development of the record on
the principal purpose of which is the collection of any        Turning Point's own status as a "debt collector," the
debts," 15 U.S.C. § 1692a(6) (emphasis added), without         District Court assumed that Crown could not be held
regard to whether that entity delegates its collecting         vicariously liable for the acts of an agent under the
activities. The statute is clear, and Crown's argument         FDCPA unless the agent qualified as a "debt collector"
fails for this reason as well: HN9[ ] "[R]ecourse to           in its own right. Barbato, 2017 U.S. Dist. LEXIS 48175,
legislative history or underlying legislative intent is        2017 WL 1193731, at *13. But our case law imposes no
unnecessary when a statute's text is clear and does not        such requirement; to the contrary, we have focused on
lead to an absurd result." In re Phila. Newspapers, LLC,       whether the principal qualifies as a debt collector
599 F.3d 298, 317 (3d Cir. 2010) (quoting Hay Grp., Inc.       because HN11[ ] "an entity which itself meets the
v. E.B.S. Acquisition Corp., 360 F.3d 404, 406 (3d Cir.        definition of 'debt collector' may be held vicariously
2004)).                                                        liable for unlawful collection activities carried out by
                                                               another on its behalf." Pollice, 225 F.3d at 404. And as
                                                               we explained in Pollice, and we reinforce today, this is
E. Issues for Remand                                           "a fair result because an entity that is itself a 'debt
                                                               collector'—and hence subject to the FDCPA—should
Of course, our holding that Crown is a debt collector          bear the burden of monitoring the activities of those it
does [*21] not answer the ultimate question of liability,      enlists to collect debts on its behalf." Id. at 405.
which turns here on principles of vicarious liability. As
the District Court recognized, HN10[ ] "when Congress
creates a tort action, it legislates against a legal           IV. Conclusion
background of ordinary tort-related vicarious liability
rules," Barbato, 2017 U.S. Dist. LEXIS 48175, 2017 WL          For the foregoing reasons, we will [*23] affirm the
1193731, at *12 (quoting Meyer v. Holley, 537 U.S. 280,        District Court's order denying reconsideration of its
285, 123 S. Ct. 824, 154 L. Ed. 2d 753 (2003)), and we         summary judgment decision and will remand for further
have relied on traditional agency principles in holding        proceedings consistent with this opinion.
parties vicariously liable under the FDCPA, see Pollice,
225 F.3d at 404-05, as have other Courts of Appeals in
the context of analogous remedial statutes, see, e.g.,           End of Document

Jones v. Federated Fin. Reserve Corp., 144 F.3d 961,
965 (6th Cir. 1998) (applying agency principles to
determine vicarious liability under the Fair Credit
Reporting Act).

As Crown's ultimate liability for the acts of Turning Point
was not the question certified in this interlocutory appeal
nor the focus of the parties' briefing, we will leave that
issue for the District Court's consideration in the first
instance. By way of guidance on remand, however, we
offer two brief observations. First, to the extent Crown
